Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 1 of 19 PageID 1

                                                                                      FILED

                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRlCT OF FLORIDA                      2016 DEC 16 M1 /0: 38
                               ORLANDO DIVISION


 SANTIARY RIVERA a nd
 HECTOR L. BURGOS, on beha lf of themselves
 and on behalf of all others
 similarly situated,

         Plain tiffs,

 \' .


 U.S.A. TRA NSPORTER SERVICES, lNC,

         Defendant.


                    COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiffs. SANTfARY RIV ERA and HECTOR L. BURGOS ("Plaintiffs"), by

 and through undersigned counsel. on behalf of themselves and on behalf of alI others

 similarl y situated. brings thi s action against Defendant, U.S.A. TRANS PORTER

 SE RVI CES. INC. ('"Defendant'"). and in support of their claims state as follows:

                              J URIS DICTION AND VENUE

         I.      Thi s is an acti on fo r damages for violations of the Fair Labor Standards

 Act c-·rLSA"). 29 U.S.C. § 20 I et seq .. unpaid wages under Florida con1mon law.

 violati on of the Florida Deceptive and Unfair Trade Practices Act (''F DUTPA.. ). Fla.

 Stat. § 50 1.20 I et seq .. and the Internal Revenue Code, 26 U.S.C. § 7434.

        2.       Th is Compl aint is fil ed as a collective action under 29 U.S.C. § 2 I6(b)

 and as a class action under Federa l Rule of Civil Procedure 23 .
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 2 of 19 PageID 2




           3.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 29

 U.S.C. § 201 et seq.

        4.       Exercise of supplemental jurisdiction over Plaintiffs' state law claims is

 appropriate under 28 U.S.C. § 1367(c).

        5.       Venue is proper in the Middle District of Florida, because all of the events

 giving rise to these claims occurred in Orange County, Florida, which lies within the

 Middle District.

                                            PARTIES

        6.       Plaintiffs are residents of Orange County, Florida.

        7.       Defendant operates a transportation services company m Orlando m

 Orange County, Florida.

                                 GENERAL ALLEGATIONS

        8.       Plaintiffs have satisfied all conditions precedent, or they have been

 waived.

        9.       Plaintiffs have hired the undersigned attorneys and agreed to pay them a

 fee.

        10.      Plaintiffs request a jury trial for all issues so triable.

        11.      At all times material hereto, Named Plaintiffs were employed by

 Defendant as drivers.

           12.   The similarly situated employees consists of all other drivers employed by

 Defendant during any period of time within the past three years.




                                             2
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 3 of 19 PageID 3




         13.    The putative class consist of all other drivers who were employed by

 Defendant during any period of time within the past three years.

         14.    At all times material hereto, Plaintiffs and the similarly situated employees

 were ••engaged in the production of goods" for commerce within the meaning of Sections

 6 and 7 of the FLSA, and as such were subject to the individual coverage of the FLSA.

         15.    At all times material hereto, Plaintiffs and the similarly situated were

 "employees" of Defendant within the meaning of the FLSA.

         16.    At all times material hereto, Defendant was an "employer" within the

 meaning of the FLSA, 29 U.S.C. § 203(d).

         17.    Defendant     continues to be an "employer" within the meaning of the

 FLSA.

         18.    At all times material hereto, Defendant was and continues to be an

 enterprise covered by the FLSA, as defined under 29 U.S.C. §§ 203(r) and 203(s).

         19.    At all times relevant to this action, Defendant engaged in interstate

 commerce within the meaning of the FLSA, 29 U.S.C. § 203(s).

         20.    At all times relevant to this action, the annual gross sales volume of

 Defendant exceeded $500,000 per year.

         21.    At all times material hereto, the work performed by Plaintiffs and the

 similarly situated employees was directly essential to the business performed by

 Defendant.

         22.    At all times material hereto, Plaintiff and all situated employees were

 .. persons" within the meaning of FDUTPA, Fla. Stat. § 511.211 (2).



                                          3
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 4 of 19 PageID 4




            23.   At all times material hereto, Defendant was engaged m trade or

 commerce, and as such, was governed by FDUTPA.

            24.   The Internal Revenue Service ('"IRS'') will be notified of this Complaint as

 is required under the Internal Revenue Code. In particular, 26 U.S.C. § 7434(d) provides

 that "'[a]ny person bringing an action under [26 U.S.C. § 7434) Subsection (a) shall

 provide a copy of the complaint to the IRS upon the filing of such complaint with the

 court.''

                                             FACTS

            25.   Plaintiff SANTIAR Y RIVERA began working for Defendant as a driver

 in May 2015, and she worked in this capacity until on or about May 4, 2016.

            26.   Plaintiff HECTOR L. BURGOS began working for Defendant as a driver

 in January 2013, and he worked in this capacity until on or about May 4, 2016.

            27.   At all times material hereto, Plaintiffs and the similarly situated employees

 worked hours at the direction of Defendant, and they were not paid at least the applicable

 minimum wage for all of the hours that they worked.

            28.   At various times material hereto, Plaintiffs and the similarly situated

 employees worked hours in excess of forty (40) hours within a work week for Defendant,

 and they were entitled to be paid an overtime premium equal to one and one-half times

 their regular hourly rate for all of these hours.

            29.   By failing to accurately record all of the hours worked by Plaintiffs and

 the similarly situated employees. Defendant has failed to make, keep, and preserve

 records with respect to each of its employees in a manner sufficient to determine their




                                            4
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 5 of 19 PageID 5




 wages, hours, and other conditions of employment, in violation of the FLSA. See 29

 C.F.R. § 516.2

        30.       At various times material hereto, Defendant made improper deductions

 from Plaintiffs' paychecks to cover the costs of damage insurance on Defendant's

 vehicles.

        31.       By making improper deductions from Plaintiffs' paychecks, Defendant

 failed to pay Plaintiffs all wages owed to them.

        32.       The improper deductions taken from Plaintiffs' paychecks constitute

 "wages" under Florida common law and Fla. Stat. Section 448.08.

        33.       In an effort to avoid providing its drivers with the minimum benefits and

 protections afforded employees under the FLSA and Florida law, Defendant has

 willfully, unifonnly, and unilaterally classified its drivers as independent contractors,

 rather than employees, despite the fact that the factual circumstances of the relationship

 between Defendant and its drivers clearly demonstrate that Defendant's drivers are, in

 fact, employees of the company.

        34.       By misclassifying Plaintiffs and all similarly situated employees of

 Defendant as independent contractors, Defendant avoided withholding employment taxes

 from their earnings. Defendant avoided paying mandatory employment taxes on their

 behalf, as it was legally required to do for all of its employees under the provisions of the

 Internal Revenue Code. See 26 U.S.C. §§ 3102(a), and 3492(a) (imposing a duty on

 employers to deduct applicable taxes from their employees' wages); 26 U.S.C. §




                                           5
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 6 of 19 PageID 6




 3401(d)(l) (defining "'employer" under the IRC); (26 U.S.C. § 3121(a) (defining

 employee wages for the purpose of income taxation).

        35.     Defendant's purpose in misclassifying Plaintiffs and all similarly situated

 employees of Defendant as independent contractors, rather than properly classifying them

 as employees, was to save money and simultaneously acquire a competitive advantage in

 the marketplace. Specifically, by avoiding payment of all applicable employment taxes

 that it had a legal duty to pay on behalf of its drivers by virtue of their status as

 employees, Defendant saved the money that it would otherwise have spent in meeting its

 tax obligations in connection with their employment. Moreover, this intentional

 misclassification of employees as independent contractors helped Defendant acquire a

 competitive advantage in the marketplace.

        36.     In purposely avoiding payment of the mandatory employment taxes that is

 was legally obligated to pay on behalf of its drivers in order to save money for its

 business, Defendant simultaneously ensured that its cost of labor remained consistently

 lower than those of other employers in Orange County, all while deprive Plaintiffs and all

 similarly situated employees of Defendant of benefits to which, as employees, there were

 entitled by law.

        37.     Thus, by intentionally misclassifying Plaintiffs and all similarly situated

 drivers, Defendant in unfair methods of competition, unconscionable acts or practices,

 and unfair deceptive acts or practices in conduct of any trade or commerce, thereby

 violating the FDTUPA.




                                         6
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 7 of 19 PageID 7




           38.   Defendant's actions were willful, and showed reckless disregard for the

 provisions of the FLSA, the FDUTPA, and the Internal Revenue Code.

                        COLLECTIVE ACTION ALLEGATIONS

           39.   Plaintiffs bring this case as an "opt-in·· collective action on behalf of

 similarly situated employees of Defendant pursuant to 29 U.S.C. § 216(b ). The similarly

 situated employees are composed of drivers whom Defendant failed to compensate for all

 overtime hours worked in accordance with the FLSA.

           40.   Therefore, notice is properly sent to: "All drivers whom Defendant failed

 to compensate for all of the overtime hours that they worked during any period of time

 within the past three years."

           41.   The total number plaintiffs who may '"opt in,. may be determined from the

 records of Defendant, and they may easily and quickly be notified of the pendency of this

 action.

           42.   Plaintiffs are similar to the similarly situated employees because they have

 been unlawfully denied full payment of their overtime wages as mandated by the FLSA.

           43.   Plaintiffs' experience with Defendant's payroll practices is typical of the

 experiences of the similarly situated employees.

           44.   Defendant's failure to pay all overtime wages due at the premium rates

 required by the personal circumstances of the named Plaintiffs is common to the similarly

 situated employees

           45.   Defendant's failure to pay all wages due at a rate that was at least equal to

 the applicable statutory minimum wage is common to the similarly situated employees.



                                           7
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 8 of 19 PageID 8




        46.     Defendant's practice of making unlawful deductions from wages m

 violation of the FLSA is common to the similarly situated employees.

        47.     Overall, Plaintiffs experience as drivers are typical of the experience of the

 similarly situated employees

        48.     Specific job titles or job duties of the similarly situated employees do not

 prevent collective treatment.

        49.     Although the issues of damages can be individual in character, there

 remains a common nucleus of operative facts concerning Defendant's liability under the

 FLSA in this case.

                          RULE 23 CLASS ACTION ALLEGATIONS

        50.     Plaintiffs assert their Rule 23 class claims on behalf of the Putative

 Classes defined as follows:

        FDUTPA CLASS: All drivers employed by Defendant in the United
        States of America from the four years preceding the filing of this
        Complaint through the date of final judgment in this action.

        IRS Class: All drivers employed by Defendant in the United States who
        were classified as independent contractors rather than employees for
        whom Defendant filed fraudulent Form 1099s within the applicable
        limitations period through the date of final judgment in this action.

        51.     Plaintiffs and all similarly situated employees of Defendant are members

 of the Putative FDUTPA and IRS Classes described herein.

        52.     The number of persons belonging to the Putative Rule 23 Classes herein is

 so numerous that joinder of all such persons would be impracticable. While the exact

 number and identities of all such persons are unknown to Plaintiffs at this time and will

 only be obtainable through appropriate discovery, Plaintiffs are informed and reasonably


                                          8
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 9 of 19 PageID 9




 believe, and on this basis allege, that the Putative Rule 23 Classes described herein

 includes over 100 persons.

           53.   Disposition of the FDUTPA and IRS claims of Plaintiffs and all similarly

 situated employees of Defendant in a class action will benefit all parties and this Court.

           54.   A well-defined community of interest is presented by the Putative Rule 23

 Classes herein, because each member of the Putative Rule 23 Classes have an interest in

 being classified as an employee rather than an independent contractor, obtaining adequate

 compensation for the common damages which Plaintiffs and all other persons similarly

 situated have suffered as a result of Defendant's actions.

           55.   Each member of the Putative Classes described herein has performed labor

 for Defendant at Defendant's request at some time the Class Period, while the members

 of the Putative Class were unlawfully misclassified as independent contractors.

           56.   In this instant case, a class action is superior to any other available method

 in order to promote and achieve the fair and efficient adjudication of the claims presented

 herein.

           57.   The prosecution of separate actions by individual members of the Putative

 Rule 23 Classes described herein would create a risk of inconsistent and/or varying

 adjudications with respect to individual members of the Putative Classes, resulting in the

 establishment of incompatible standards of conduct for Defendant, and creating the risk

 that separate adjudication of individual Class members' claims would, as a practical

 matter, either dispose of the interests of other Class members who had no opportunity to




                                           9
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 10 of 19 PageID 10




  join those separate suits, or substantially impede or impair the ability of these other Class

  members to protect and vindicate their own interests.

         58.     Common questions of law and fact exist in this case with respect to the

  Putative Rule 23 Classes, and these common questions predominate over any separate,

  individual issues only affecting members of the Class in their individual capacities.

         59.     At some time during the Class Period, all of the individuals who belong to

  the Putative Rule 23 Classes herein have been employed by Defendant have been

  unlawfully subjected to a uniform, consistent set of unfair employment practices by

  Defendant, as described more fully herein.

         60.     The common questions of fact involved in this case include, without

  limitation: Whether each member of the Putative Classes have been subjected to the same

  company-wide policies and practices related to the manner in which they conduct their

  work, the methods that they use in conducting their work, the manner in which they are

  compensated for their work, the manner in which Defendant keeps track of their working

  hours, and the manner in which Defendant keeps records reflecting their hours of work;

  and (2) whether Defendant evaded its legal obligation to deduct all applicable

  employment taxes from the earnings of each member of the Putative Classes in order to

  gain an unfair competitive advantage over other employers in Orange County, who

  deduct all applicable employment taxes from their employees' earnings as required by

  law.

         61.     The common questions of law involved in this case include, without

  limitation: (I) whether Class Members performed labor for Defendant as employees or as



                                           10
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 11 of 19 PageID 11




  independent contractors; (2) whether Defendant's uniform policies and practices related

  to the relationship between Defendant and its employees are unlawful, unfair, and/or

  deceptive business practices that violate FDUTP A and the applicable civil IRS statute;

  and (3) whether Plaintiff and all other persons similarly situated are entitled to general

  and/or special damages as a result of any of FDUTPA and IRS violations complained of

  herein, and if so, the nature of such damages.

         62.     The claims of the Named Plaintiffs in this case are typical of those of the

  Class Members which they seeks to represent, in that Plaintiffs and each member of the

  Classes have sustained damages, and are facing irreparable harm because of, and arising

  out of, a common course of conduct engaged in by Defendant, as complained of herein.

         63.     The claims of Plaintiffs coincide with, and are not antagonistic to, the

  claims of other Class Members whom the Plaintiffs seeks to represent.

         64.     Plaintiffs will fairly and adequately represent and protect the interests of

  the members of the Putative Classes whom they seeks to represent. Plaintiffs does not

  have any interests that are adverse to the interests of the members of the Putative Class

  described herein.

         65.     Counsel for Plaintiffs are experienced, qualified, and generally able to

  conduct complex class action legislation.

         66.     The relief sought in this action is necessary to restore to members of the

  Putative Class the money and property which Defendant has illegally acquired through

  the unlawful treatment of each Class Member as described herein.

         67.      Plaintiffs intend to send notice to all members of the Putative Classes



                                           11
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 12 of 19 PageID 12




  to the extent required by Federal Rule of Civil Procedure 23. The names and addresses

  of the Putative Class members are readily available from Defendant's records.

                      COUNT I - FLSA OVERTIME VIOLATIONS

         68.      Plaintiffs reallege and readopt the allegations of Paragraphs 1 through 67

  of this Complaint, as fully set forth herein.      Plaintiffs bring this action on behalf of

  themselves and all other similarly situated employees in accordance with 29 U.S.C. §

  216(b). Plaintiffs anticipate that as this case proceeds, other individuals will sign consent

  forms and join this collective action as plaintiffs.

         69.      During the statutory period, Plaintiffs and the similarly situated employees

  worked overtime hours while employed by Defendant, and they were not properly

  compensated for all of these hours under the FLSA.

          70.    Defendant failed to compensate Plaintiffs and the similarly situated

  employees for all of the overtime hours that Plaintiffs and the similarly situated

  employees worked.

         71.     The similarly situated employees are similarly situated because they were

  all employed as drivers by Defendant, were compensated in the same manner, and were

  all subject to Defendant's common policy and practice of failing to pay its drivers for all

  of the overtime hours that they worked in accordance with the FLSA.

         72.     This reckless practice violates the provisions of the FLSA, specifically 29

  U.S.C. § 207(a)(l ).    As a result, Plaintiffs and the similarly situated employees are

  individually entitled to an amount equal to their unpaid overtime wages as liquidated

  damages.



                                            12
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 13 of 19 PageID 13




         73.    All of Defendant's conduct, as alleged and described above, constitutes a

  willful violation of the FLSA within the meaning of29 U.S.C. § 255(a).

         74.    As a result of the foregoing, Plaintiffs and the similarly situated employees

  have suffered damages.

         WHEREFORE, Plaintiffs and all similarly situated employees who join this

         collective action demand:

                (a)    Designation of this action as a collective action on behalf of the

                       Plaintiffs and the similarly situated employees that seeks to

                       represent, in accordance with the FLSA;

                (b)     Prompt issuance of notice pursuant to 29 U .S.C. § 216(b) to all

                       similarly situated employees, apprising them of the pendency of

                       this action and permitting them to assert timely FLSA claims in

                       this action by filing individual consent to sue forms pursuant to 29

                       u.s.c. § 216(b);
                (c)     Equitable tolling of the statute of limitations from the date of the

                       filing of this complaint until the expiration of the deadline for

                       filing consent to sue forms under 29 U.S.C. § 216(b);

                (d)    Leave to add additional plaintiffs by motion, the filing of written

                       consent forms, or any other method approved by this Court;

                (e)    Judgment against Defendant for an amount equal to the unpaid

                       overtime wages of Plaintiffs and all opt-in similarly situated

                       employees, at the applicable overtime rate;



                                          13
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 14 of 19 PageID 14




                 (f)     A declaratory judgment stating that the practices complained of

                         herein are unlawful under the FLSA;

                 (g)     Judgment against Defendant for an amount equal to the unpaid

                         back wages of Plaintiffs and all opt-in similarly situated employees

                         at the applicable overtime rate, as liquidated damages;

                 (h)     Judgment against Defendant stating that their violations of the

                         FLSA were willful;

                 (i)     To the extent liquidated damages are not awarded, an award of

                         prejudgment interest;

                 G)      All costs and attorney's fees incurred in prosecuting these claims;

                         and

                 (k)     For such further relief as this Court deems just and equitable.

                           COUNT 11-FLSA UNPAID WAGES

         75.     Plaintiffs reallege and readopt the allegations of paragraphs I through 67

  of this Complaint, as though fully set forth herein.

         76.     During the statutory period, Plaintiffs worked for Defendant, and

  Defendant agreed to pay Plaintiffs for their services.

         77.     Defendant consistently made a deduction from Plaintiffs' wages to cover

  the cost of damage insurance that Defendant required Plaintiff to pay on its vehicles.

         78.     Defendant's practice of unlawfully deducting these monies from

  Plaintiffs' wages constitutes a failure to pay the federal minimum wage to employees for

  hours worked, in violation of the FLSA.




                                            14
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 15 of 19 PageID 15




          79.    By unlawfully deducting these monies from Plaintiffs' wages, Defendant

  obtained '"kickbacks" from Plaintiff, in violation of29 C.F.R. § 531.35.

          80.    Defendant's unlawful deduction practices violate the provisions of the

  FLSA.

          81.    All of the foregoing conduct, as alleged, constitutes a willful violation of

  the FLSA, within the meaning of 29 U.S.C. § 255(a).

          82.    As a result of the foregoing, Plaintiffs have suffered damages.

  WHEREFORE, Plaintiff demands:

                 a)     Judgment against Defendant for an amount equal to Plaintiffs'

                        unpaid wages as measured by Defendant's unlawful deductions, as

                        liquidated damages;

                 b)     Judgment against Defendant, stating that Defendant's violations of

                        the FLSA were willful;

                c)      A jury trial for all issues so triable;

                d)      To the extent liquidated damages are not awarded, an award of

                        prejudgment interest;

                e)      A declaratory judgment stating that the practices complained of

                        herein are unlawful under the FLSA;

                 t)     All costs and attorney's fees incurred in prosecuting these claims;

                        and

                g)      For such further relief as this Court deems just and equitable.

          COUNT III - UNPAID WAGES UNDER FLORIDA COMMON LAW



                                           15
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 16 of 19 PageID 16




          83.     Plaintiff realleges and readopts the allegations of paragraphs 1 through 67

  of this Complaint, as though fully set forth herein.

          84.     Plaintiffs worked for Defendant during the statutory period, and Defendant

  agreed to pay Plaintiffs for their services.

          85.     Defendant failed to pay Plaintiff all "wages" owed to, including the

  improper deductions taken from Plaintiffs paychecks.

          86.     As a result of the foregoing, Plaintiff has suffered damages.

  WHEREFORE, Plaintiffs demand:

                  a)      A jury trial on all issues so triable;

                  b)      That process issue and that this Court take jurisdiction over the

                          case;

                  c)      Judgment against Defendant for an amount equal to Plaintiffs

                          unpaid back wages;

                  d)      All costs and attorney's fees incurred in prosecuting these claims,

                          in accordance with Fla. Stat. §448.08; and

                  e)      For such further relief as this Court deems just.

     COUNT IV - VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR
                        TRADE PRACTICES ACT

          87.     Plaintiffs reallege and readopt the allegations of paragraphs 1 through 67

  of this Complaint, as though fully set forth herein.

          88.     In an effort to avoid providing its drivers with the minimum benefits and

  protections afforded employees under Florida law, Defendant has willfully, uniformly,

  and unilaterally classified its drivers as independent contractors rather than employees,


                                             16
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 17 of 19 PageID 17




  despite the fact that the factual circumstances of the relationship between Defendant and

  its drivers clearly demonstrate that the drivers are in fact employees of the company.

         89.     Jn violation of FDUTPA, Defendant engaged in unfair methods of

  competition, unconscionable acts or practices, and unfair or deceptive acts or practices in

  the conduct of its trade and commerce, and has thereby deprived Plaintiffs of

  fundamental rights and privileges guaranteed to all employees under Florida law.

         90.     The actions of Defendant, in misclassifying Plaintiffs' employment, are

  unfair and deceptive trade practices prohibited by Florida Statutes. Specifically,

  Defendant's misclassification of Plaintiffs as independent contractors resulted in

  substantial cost savings to Defendant (due to its not having to pay employment truces) and

  gave Defendant an unfair competitive advantage over its competitors.

         91.     By and through Defendant's unfair, unlawful, and/or deceptive business

  practices described herein, Plaintiffs have suffered injury in fact in that Defendant has

  obtained valuable property, money and/or services from Plaintiffs, and has deprived

  Plaintiffs of valuable rights and benefits guaranteed by law.

         92.     All of the acts described herein are unlawful and in violation of public

  policy; and in addition are immoral, unethical, oppressive, fraudulent, and/or

  unscrupulous, and thereby constitute unfair, unlawful and/or deceptive business practices

  in violation of FDUTPA.

         93.     Plaintiffs are entitled to and does seek such relief as may be necessary to

  restore to him the money and property which Defendant has acquired, or of which




                                           17
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 18 of 19 PageID 18




  Plaintiffs have been deprived, by means of the above-described unfair, unlawful and/or

  deceptive business practices.

          WHEREFORE, Plaintiffs demand:

                 (a)         Judgment against Defendant and determination by the Court that
                             Defendant violated the FDUTPA;

                 (b)         Plaintiffs' actual damages;

                 (c)         All costs and attorney's fees incurred in prosecuting these claims;
                             and

                 (d)         For such further relief as the Court deems just and equitable.

           COUNT V - CIVIL DAMAGES FOR FRAUDULENT FILING OF
                  INFORMATION RETURNS 26 U.S.C. § 7434

         94.     Plaintiffs reallege and readopt the allegations of paragraphs 1 through 67

  of this Complaint, as though fully set forth herein.

         95.     Pursuant to 26 U.S.C. § 7434, "[if] any person willfully files a fraudulent

  information return with respect to payments purported to be made to any other person,

  such other person may bring a civil action for damages against the person so filing such a

  return." 26 U.S.C. § 7434

         96.     At    all     times   material    hereto,   Defendant   misclassified   Plaintiffs

  independent contractors.

         97.     The Defendant issued an informational return Form 1099 MISC directly to

  the IRS on behalf of Plaintiff. During the course of this employment with Defendant,

  Defendant filed false information returns for Plaintiffs with the IRS which misclassified

  them as independent contractors.

         WHEREFORE, Plaintiffs demand:


                                              18
Case 6:16-cv-02158-RBD-T_S Document 1 Filed 12/16/16 Page 19 of 19 PageID 19




                (a)        Costs attri butable to reso lvi ng deficiencies, damages of $5.000.00
                           for Plaintiff and damages resulting fro m the add iti onal tax debt and
                           additional time/expenses associated with any necessary correcti on.

                (b)        That Defendant be ordered to take alI the necessary steps to correct
                           the above identified in fo rmation returns;

                (c)        All costs and attorney's fees incurred in prosecuting these claims;
                           and

                (d)        For such further reli ef as the Court deems just and equitable.

                                                      JURY TRJAL DEMAND

        Plaintiff demands trial by jury as to all issues so triable.
                      (( \'\         \:>ec cvY\YreV
        Dated this "';)<       day ofN-e1c111 bcr , 20 16.



                                                       Respectfull y submitted,



                                                       LUIS A. C ABASSA -==--
                                                       Florida Bar Number: 0053643
                                                       WENZEL FENTON CABASSA, P.A.
                                                       I I I0 N. Florida A venue, Suite 300
                                                       Tampa, Florida 33602
                                                       Main Number: 813-224-0431
                                                       Direct Dial: (8 13) 379-2565
                                                       Facsi mile: 813-229-8712
                                                       Ema il: Jcabassa@wfclaw.com
                                                       Email: twells@ wfclaw.com
                                                       Attorneys for Plaintiffs




                                                 19
